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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
           Plaintiff,                 )
                                      )
      v.                              )      Case No. 4:05CR536 RWS
                                      )
CHARLES JONES,                        )
JASON KYLE,                           )
THOMAS KYLE, and                      )
DALE ZEPP,                            )
                                      )
           Defendants.                )


                                     ORDER

      This matter is before me on Jason Kyle’s objection to the Magistrate Judge’s

recommendation that Kyle’s Motion to Sever be denied.

      Pursuant to 28 U.S.C. § 636(b) Jason Kyle’s Motion to Sever was referred to

United States Magistrate Judge Thomas C. Mummert.

      The defendants, including Jason Kyle, are charged in a 16-count indictment

which alleges that they were involved in a scheme to defraud.

      I have conducted a de novo review of the record filed by the parties. I adopt

the thorough and thoughtful reasoning of Magistrate Judge Mummert.
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      Accordingly,

      IT IS HEREBY ORDERED that defendant’s Motion to Sever is denied.



                                        _______________________________
                                        RODNEY W. SIPPEL
                                        UNITED STATES DISTRICT JUDGE


Dated this 26th day of January, 2006.




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